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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

ASSASSINATION ARCHIVES AND                    *
RESEARCH CENTER, INC.,                        *
                                              *
       Plaintiff,                             *
                                              *
       v.                                     *       Civil Action No. 1:18-cv-01868 (TNM)
                                              *
DEPARTMENT OF JUSTICE,                        *
                                              *
       Defendant.                             *
                                              *
*      *        *      *       *      *       *       *       *       *      *       *       *

                         PLAINTIFF’S MOTION TO COMPEL
                    DEFENDANT TO SEEK AN OPEN AMERICA STAY

       Plaintiff Assassination Archives and Research Center, Inc. (“AARC”) commenced this

litigation against Defendant Federal Bureau of Investigation (“FBI”) 1 in 2018 in part to obtain

copies of historical indices of electronic surveillance activities—the majority of which are over

sixty years old—that AARC had requested in 2012. (Compl., Dkt. #1, ¶¶ 17-19 (filed Aug. 8,

2018).) After AARC commenced this litigation, FBI began processing responsive records and

began releasing records at a rate of approximately 500 pages/month, which it released by mailing

a CD containing responsive records to AARC each month. (J. Stat. Rep., Def.’s Mot. Modify

Sched. for Stat. Reps., & Pl.’s Mot. Set Briefing Sched., Dkt. #17, at 3 (filed June 5, 2019).) As

of 31 July 2021, FBI claimed that approximately 22,500 pages remained to be processed (J. Stat.

Rep., Dkt. #37, at 3 (filed July 31, 2021)), which means that, if FBI continues at its current rate

of production, FBI will complete its processing of responsive records in approximately forty-one



1FBI is treated herein as the “Defendant” to avoid confusion because the case is limited to
questions about FBI’s processing of AARC’s Freedom of Information Act (“FOIA”) request,
even though the Department of Justice is the proper party Defendant as a matter of law.
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months—in April 2025. In the parties’ 5 June 2019 Joint Status Report, and again in the 6

August 2019 Status Conference, AARC asserted that if FBI intended to continue to process

records at the current pace and delay the resolution of this case for six more years, the Court

must require it to satisfy the strict requirements established by the D.C. Circuit in Open America

v. Watergate Special Prosecution Force, 547 F.2d 605 (D.C. Cir. 1976). (J. Stat. Rep., Dkt. #17,

at 3-4 (filed June 5, 2019).) The Court then directed AARC to file a motion to compel FBI to

seek an Open America stay.

       Due to various intervening factors, including the coronavirus pandemic, AARC opted to

delay the filing of this Motion indefinitely. (Pl.’s Not. to Court, Dkt. #24, at 2 (filed Mar. 31,

2020).) However, due to the coronavirus pandemic lasting significantly longer than AARC

anticipated, AARC is now formally seeking the relief it originally requested in June 2019. As

explained in the following memorandum, which has been included in this Motion due to its short

length, the Court should grant AARC’s Motion.

       Defendant opposes this Motion. A proposed Order is attached to this Motion.

                             Memorandum of Points and Authorities

       In cases where an agency seeks to postpone briefing by a significant period, it is well-

established that the agency must seek an Open America stay justifying the delay (and,

accordingly, justifying the processing speed causing the delay). In such a motion, an agency

must show “exceptional circumstances” to meet the “substantial burden [placed] on the

government to justify to the courts any noncompliance with FOIA time limits.” Open Am., 547

F.2d at 617 (Leventhal, J., concurring). An Open America stay may be granted “(1) when an

agency is burdened with an unanticipated number of FOIA requests; and (2) when agency

resources are inadequate to process the requests within the time limits set forth in the statute; and


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(3) when the agency shows that it is exercising ‘due diligence’ in processing the requests; and (4)

the agency shows ‘reasonable progress’ in reducing its backlog of requests.” Elec. Frontier

Found. v. DOJ, 517 F. Supp. 2d 111, 120 (D.D.C. 2007) (emphasis in original) (quoting

Wilderness Soc’y v. DOJ, No. 04-650, 2005 U.S. Dist. LEXIS 20042, at *31-32 (D.D.C. Sept.

12, 2005)).

       Over the course of this litigation—and in other cases in which the undersigned has been

involved—the Government has taken the unusual position that an Open America stay is not

required when the agency in question is processing records, and that it is only necessary when

the agency seeks to delay its commencement of the process. In other words, according to the

Government, if FBI seeks to wait until June 2022 to begin processing records, which it will

complete processing in September 2022, it must meet the strict requirements for an Open

America stay, but if it seeks to slowly process records until April 2025, it may simply cite its

“policy” and rely on the Court’s inherent authority to enter scheduling orders as an exercise of

discretion. There is no defensible reason for such a dichotomy, and such an extreme delay in the

resolution of a FOIA case is beyond the scope of the Court’s inherent authority to manage its

docket and is the raison d’être for the Open America line of jurisprudence. It is well-established

that an agency has complied with FOIA when it completes its processing of responsive records,

not when it begins it. If the purpose of the heightened burden for an Open America stay is “to

justify to the courts any noncompliance with FOIA time limits.” Open Am., 547 F.2d at 617

(Leventhal, J., concurring), then it must apply to “any noncompliance with FOIA time limits,” id.

(emphasis added), regardless of whether the noncompliance is due to a delay in the

commencement or the completion of the process.




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       Open America itself dealt with a district court which directed the agency to immediately

process the plaintiff’s request. That order was reversed and the stay was granted after

“exceptional circumstances” were found, but the Open America stay was created as, and remains,

an exception to the default rule that agencies must comply with all of FOIA, including the

statutorily imposed deadlines. An agency’s “good faith and due diligence” remain the

“touchstones underlying FOIA’s statutory scheme.” Judicial Watch, Inc. v. DHS, 895 F.3d 770

(D.C. Cir. 2018) (quoting Open Am., 547 F.2d at 616). A district court is obligated to determine

that an agency “has organized its records management systems to enable prompt determinations

to produce records or to invoke an exemption, and to monitor when necessary an agency’s

progress in adjusting its records management systems to enable it to comply with FOIA.” Id. at

784. When an agency has not yet processed all records, it has not “responded” to the entire

request, because it may still decide to assert exemptions for as-yet-unprocessed records. The

point of an Open America stay is to allow more time to respond to the request in its entirety, not

just part of it. Otherwise, an agency could simply produce one responsive document up front and

then delay the release of other records for years.

       Once in court, an agency “may further extend its response time [to a request] if it

demonstrates ‘exceptional circumstances’ to the court.” Citizens for Resp. & Ethics in Wash. v.

FEC, 711 F.3d 180 (D.C. Cir. 2013) (emphasis added). The language of Open America

jurisprudence broadly makes clear that agencies must either promptly comply with FOIA’s

requirements or actively seek a stay for “exceptional circumstances” to allow more response

and/or processing time, which may only be granted as long as the agency is “exercising due

diligence in responding to the request.” 5 U.S.C. 552 § (a)(6)(C)(i). “Exceptional circumstances”

specifically excludes “a delay that results from a predictable agency workload of requests . . .


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unless the agency demonstrates reasonable progress in reducing its backlog of pending requests.”

Id. § 552((a)(6)(C)(ii). This change was specifically made in 1996 to narrow the circumstances

under which agencies could rely on Open America stays—and such a change is hardly consistent

with the notion that an agency does not have to actively justify its delay in response or

processing if it is doing anything more than not responding at all.

       Possible reasons for such a stay include that the agency is “deluged” with requests “vastly

in excess of that anticipated by Congress,” Open Am. at 616, or that the agency is making efforts

to, e.g., reduce the number of pending requests or the size or complexity of other requests. See,

e.g., Elec. Privacy Info Ctr. v. FBI, 933 F. Supp. 2d 42, 46 (D.D.C. 2013). But the agency has to

affirmatively meet this burden in order to be given more time. See, e.g., Clemente v. FBI, 71 F.

Supp. 3d 262, 266 (D.D.C. 2014) (“The FBI must make two showings before the court may grant

a stay of proceedings: (1) that exceptional circumstances exist, and (2) that the agency is

‘exercising due diligence’ in processing [the] request.”). All of these cases take for granted that

an Open America stay is a conditional grant of more time contingent on the agency’s affirmative

showings. Otherwise, the plaintiff may be entitled to a judgment on the pleadings. See, e.g., Nat’l

Sec. Archive v. SEC, 770 F. Supp. 2d 6, 8-9 (D.D.C. 2011) (finding that plaintiff’s allegation that

defendants violated FOIA by failing to disclose responsive records within the statutory period

was countered by the SEC’s affirmative detailing of its exceptional circumstances and due

diligence warranting an Open America stay).

       A further, practical reason the burden is on the agency to move for and demonstrate

eligibility for an Open America stay is that the plaintiff is in no position to know of, let alone

demonstrate to the Court, whether the agency is actually exercising due diligence or is truly

facing exceptional circumstances. For both judicial economy and basic fairness purposes, it is


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only logical that the agency must either produce the requested records quickly or explain why it

cannot. This is effectively the same logic behind Vaughn indices, as Vaughn v. Rosen, 484 F.2d

820 (D.C. Cir. 1973), found that the Government could not simply assert broad and conclusive

exemptions, but instead had to defend the asserted exemptions in more detail because it was the

only party that could do so absent a special master. Indeed, the Vaughn court noted that “[t]he

procedural requirements we have spelled out herein may impose a substantial burden on an

agency seeking to avoid disclosure. Yet the current approach places the burden on the party

seeking disclosure, in clear contravention of the statutory mandate.” Id. at 828. In FOIA

litigation, many burdens are on the Government for a reason. Here, it is consistent with the entire

FOIA framework to require that an agency either actively justify its delays or be vulnerable to

judgment on the pleadings.

       For the foregoing reasons, AARC respectfully requests that the Court grant its Motion. If

FBI is unwilling to meet the burden of requesting an Open America stay, the Court should

presume that it cannot justify its implicit request for a 41-month stay of briefing and order FBI to

process all responsive records within twelve months. In order to meet this requirement, FBI

would need to process approximately 1700 pages/month, which is significantly less than the

2850 pages it has been ordered to process in Seavey v. DOJ, which Judge Kessler described as

“well within the range of what other courts have ordered,” 266 F. Supp. 3d 241, 248 (D.D.C.

2017), after observing that “FBI has acknowledged that it has established a policy goal that ‘no

requestor should have to wait more than three years before the FBI provides a complete

response’ to a request.” Id. Even allowing for the fact that FBI claims not to have received the

2012 request, FBI admits that it received notice of it in 2013 (Def.’s Ans. Pl.’s Compl., Dkt. #8-

1, ¶ 22 (filed Oct. 4, 2018)) and that it did not begin processing records until AARC filed this


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case in 2018, which means that FBI has failed to complete its processing of this request for

between three and eight years, and yet it maintains that it should not have to justify a further

delay of over three more years simply because it has a “standard processing rate.”

       On the contrary, a survey of cases from this Circuit reveals that it is not in fact unusual

for FBI to be required to process several thousand pages per month in cases involving a large

volume of records. For example, in Lardner v. FBI, FBI processed approximately 5000 pages per

month. J. Stat. Rep., Dkt. #111, at 1 n.1 (filed Aug. 1, 2012), No. 03-874 (D.D.C.). In Electronic

Privacy Information Center (“EPIC”) v. FBI, FBI complained that it was facing such

exceptional circumstances that it could only review 1500 pages per month. 933 F. Supp. 2d at 48.

Judge Kollar-Kotelly, relying on Lardner, nevertheless ordered FBI to process 25,000 potentially

responsive pages in 5 months, finding “the fact that the FBI indicated on August 1, 2012, that it

anticipated being able to process approximately 5,000 pages per month in another case

demonstrates that the FBI is not facing such exceptional circumstances that it can only review

1,500 pages per month in response to EPIC’s request.”). Id. Again in Clemente, Judge Hogan

ordered FBI to process 5000 pages per month after denying FBI’s request for a stay. 71 F. Supp.

3d at 269. In ACLU v. FBI, FBI was ordered to process responsive records at the relatively sedate

rate of 2500 pages per month. J. Stip. Re. Doc. Prod. Sched., Dkt. #55, at 1 (filed Apr. 13, 2011),

ACLU v. FBI, No. 10-3759 (N.D. Cal.). Notably, all of these cases significantly post-dated FBI’s

500 pages/month policy, which was implemented in 2010. These cases are but examples of

court-ordered deviations from FBI’s “standard processing rate,” and they are provided here

simply to illustrate that the Court need not assign any particular weight to FBI’s claims that it




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does not need to meet any particular burden beyond citing to its policy; these cases in fact show

why heightened standards are required, and why FBI is so desperate to avoid them. 2

Date: November 23, 2021

                                                 Respectfully submitted,

                                                   /s/ Kelly B. McClanahan
                                                 Kelly B. McClanahan, Esq.
                                                 D.C. Bar #984704
                                                 National Security Counselors
                                                 4702 Levada Terrace
                                                 Rockville, MD 20853
                                                 301-728-5908
                                                 240-681-2189 fax
                                                 Kel@NationalSecurityLaw.org

                                                 Counsel for Plaintiff




2Because the purpose of this Motion is simply to compel FBI to seek an Open America stay,
AARC will not spend any more time attacking the processing rate in this context; that would
defeat the purpose of the Motion. The fact that AARC can provide these examples—as well as
many more—should be reason enough to require FBI to request a stay, and AARC is prepared in
such a circumstance to vigorously refute any claims that the status quo is appropriate. Simply
put, this Motion is not the proper vehicle for such a detailed argument; a motion for an Open
America stay, in which FBI provides evidence justifying its entitlement to such a stay, is.
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